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                           OFFICE OF THE CLERK
                       UNITED STATES DISTRICT COURT
                          Northern District of California

                                       CIVIL MINUTES


 Date: April 8, 2025                Time: 1:10pm-2:55pm (1h 45m) Judge: PETER H. KANG
 Case No.: 24-cv-04700-PHK          Case Name: Cha v. City and County of San Francisco


Attorney for Plaintiff: Eustace De St. Phalle, Olivia Leary
Attorney for Defendant: Karun Tilak

 Deputy Clerk: Julia Macias                      Reported by: Digitally Recorded via Liberty

                                        PROCEEDINGS

Motion to Dismiss Hearing Dkt. [15] and Initial Case Management Conference Hearing held.

Matter submitted. Court to issue written order on Motion to Dismiss.



                            CASE MANAGEMENT SCHEDULE:

Initial Disclosures – May 9, 2025

Discovery Start Date – May 12, 2025

L/D to submit proposed Protective Order and ESI Protocol – May 30, 2025

Deadline to meet with ADR – May 30, 2025

Deadline to select type of ADR - June 13, 2025

ADR completion deadline – September 30, 2025

Amended Complaint Deadline – May 23, 2025

Fact Discovery Cutoff: May 29, 2026

Opening Expert Reports Due: June 26, 2026

Rebuttal Expert Reports Due: July 31, 2026

Expert Discovery Cutoff: August 28, 2026
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Last Day to File Dispositive/Daubert Motions: September 11, 2026

Opposition to Dauberts/Dipositive Motions: October 2, 2026

Replies to Dauberts/Dipositive Motions: October 23, 2026

Joint Pretrial Readiness Conference Statement: October 30, 2026

Hearing on Dispositive Motions, Dauberts, and Pretrial Readiness Conference: November 19,

2026, at 1:00 PM

Last Day to File Motions in Limine: December 4, 2026

Oppositions Motions in Limine: December 18, 2026

Final Pretrial Conference Statement: January 8, 2027

Final Pretrial Conference/In Limine Motion Hearing: January 21, 2027, at 1:00 PM

Jury Trial: February 8, 2027- February 19, 2027 (9 days)
